          Case 1:20-cr-00361-ELH Document 67-1 Filed 11/05/21 Page 1 of 1




11/1/21

Dear Judge Hollander,

Jim is our oldest child of three. We have another son, Patrick, then Jackie, who is the baby of the family.
They have grown up to be responsible adults with children of their own.

Jim has always felt for the underdog. He brought home numerous stray cats, some pregnant, and
kittens, even chinchillas, that he felt were in peril. Fish and mice from carnivals became family members
also. He would also bring home friends to share his family with. Our home was a gathering place for all
of our children's friends.

Evidence of Jim’s respect for life revealed itself also when he announced he wanted to be a trauma
surgeon in elementary school. Because of a diagnosis of ADHD, and problems associated with it, he
wouldn’t be able to maintain the academics needed. His pediatrician prescribed what was available at
the time. The side effects were too debilitating- loss of appetite, unable to sleep, shakiness, to continue.
He was on the medication long enough to achieve one semester on the honor roll.

Jim is also on the autism spectrum, on the high functioning side, also considered Asperger’s syndrome.
He has difficulty reading social cues and dislikes disharmony, (always accommodating and making
people feel accepted and welcomed). He is unable to read faces and body language. He gets taken
advantage of easily. His savant like intellect and abilities are an enticement for some. They see the
potential, realize how naive and gullible he is and take advantage, creating situations not in Jim's favor.
However his genius was recognized by some in the military who were unable to come forward and
vouch for his services. He had the safety of our military and police force when designing. His ultimate
goal was to make weapons reliable, efficient and safe to operate.

Jim is the least violent person I know, not a threat to anyone. He had a difficult time as a police officer as
he had to become something he wasn't during troublesome exchanges. He explained to me that he
enjoyed and was successful at the community side of policing-working with people who needed
guidance and counseling in the prevention of drug abuse, domestic abuse and self esteem issues. He
also referred people to the resources he knew were available in the community to assist those in need.
That's Jim.

He showed his true character again when one of his best friends became addicted to drugs. Through
Jim's persistence, intervention and support, he has been drug free for 20 years and remains so.

Thank you for taking the time to read this. We respect and appreciate your consideration.



Sincerely,

James C. and Mary K. Piccirilli
